Case 1:22-cv-00159-JLT-CDB Document 1 Filed 02/07/22 Page 1 of 7

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Name % LE

Street Address ‘¢ 12. Car’ CI G

City and County CPrsslers Fie) /, ‘Lorn FEB 07 2022

State and Zip Code(_Y-A G33 O fF CLERK US. Dis COURT

Telephone Number TO2- 4¢4¢- 516 2 By EASTERSLEIS TBI CALFORNA
DEPUTY CLERK

IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF CALIFORNIA

Olki Fact

Complaint for a Civil Case

Case No. ZAC -OOL59-IC 7 BAK

(to be filled in by the Clerk’s Office)

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs

cannot fitin the space above, please write “see Jury Trial: wes CI No
attached” in the space and attach an additional
(check one)

page with the full list of names.) .

-against-

Kora] WN sgl Souk Oishi cv

(Write the full name of each defendant who is
being sued. If the names of all the defendants °
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

Case 1:22-cv-00159-JLT-CDB Document1 Filed 02/07/22 Page 2 of 7

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed. :

Name 0 YG Fob)

Street Address 491 2. (i ar ber: ‘

City and County Cokerslir un] KetN

State and Zip Code {I ft G3 264

Telephone Number _7O2- AL44- GT. 62~

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title Gif
known). Attach additional pages if needed.

Defendant No. 1

Name Kersd hak Schaal d Delid

Job or Title aA i) Chi WDiceane

(if known)

Street Address 370! CC. Pelle ler race Se A

City and County Aa kets hetD/ | ie rJ

State and Zip Code A A, 43304

Telephone Number bobl- €33 “06 ‘70

Defendant No. 2

Name Ke LV Hah schaal

Job or Title ANN Vaaridus SSC

(if known)

Street Address S me S An BALL AVE C

City and County Bakoxned / K EN)
State and Zip Code OC A ASSM_

Telephone Number Ol 8 27) -3 ( a0

Il.

Case 1:22-cv-00159-JLT-CDB Document 1 Filed 02/07/22 Page 3 of 7

Defendant No. 3

Name AVen). PALA Se,

Job or Title Van. a >. KES Sou4Ca2—
(if known)

Street Address > g0\ IA Waoahd A Re
City and County BAvereegmn aid)

State and Zip Code Ch, 4 S304

Telephone Number Col B21 -“22. OS

Defendant No. 4

Name _ fison.so Wal de?

JoborTitle = “A eecrae OF wro/ MutT Taecpasr
(if known) Bas ved

Street Address Zlo_ C Bel fe ep Lack STE + 7

City and County Ravenel! / sete.
State and Zip Code CA, g $350}

Telephone Number (61) ¥21- - Bl ¢/

Basis for Jurisdiction

Federal Courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in Federal Court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one state sues a citizen of another
state or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. Ina diversity of citizenship case, no defendant may be a citizen of the same state as
any plaintiff.

VE “7 eral Court jurisdiction? we that apply).
( Federal question Diversity of citizenship

Case 1:22-cv-00159-JLT-CDB Document1 Filed 02/07/22 Page 4 of 7

Fill out the paragraphs in this section that apply to this case.
ao?
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

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bevel Ac. Mo OCIA AI «SSC
Systeme +> Oe mid ation wate Ue waded Giace.,

tlleqel mores tao rece Corp clauin .

B. . If the Basis for Jurisdiction Is Diversi of Citizenshi
ty Weep Deyn ‘

1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) OFM b rile , is a citizen of
the State of (name) Caliprnr a .

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ,
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (name) K€ €hO {A School, is a citizen of
the State of (name) (a “f s 2 . Orisa citizen of

(foreign nation)

Case 1:22-cv-00159-JLT-CDB Document 1 Filed 02/07/22 Page 5 of 7

b. If the defendant is a corporation

The defendant, (name) Lorul A f g\i School, Oxted

incorporated under the laws of the State of (name) °
Ci ifarniy , and has its principal place of
business in the State of (name) Cui evial . Oris
incorporated under the laws of (foreign nation) |
, and has its principal place of |

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

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Srploy

Itl Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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IV.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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pau ‘dh AKIO SulGcinn.. Defamation oF Racactac

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. J understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: +@ feb / 2072

:—p SE
Signature of Plaintiff Mba MMeatede Aa
Printed Name of Plaintiff = COttt 4+ TecD

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lack peesoo Woea © © A 27/21
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